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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
              Reorganized Debtor.       )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                   Plaintiff,           )
vs.                                     )                                   Adv. Pro. No. 21-03006 (SGJ)
                                        )
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC., JAMES DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST            )
                                        )
                   Defendants.          )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On September 27, 2022, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:

       Highland Capital Management, L.P.’s Motion for Leave to Supplement Backup
        Documentation in Support of Proposed Judgment [Docket No. 227]

       Declaration of John A. Morris in Support of Highland Capital Management, L.P.’s
        Motion for Leave to Supplement Backup Documentation in Support of Proposed
        Judgment [Docket No. 228]




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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      Highland Capital Management, L.P.’s Response to Defendants’ Objections to
       Plaintiff’s Proposed Form of Judgment Awarding Attorney’s Fees and Costs
       [Docket No. 229]

      Response in Support of Plaintiff’s Proposed Form of Judgment Awarding
       Attorneys’ Fees and Costs [Docket No. 230]



Dated: September 28, 2022
                                              /s/ Aljaira Duarte
                                              Aljaira Duarte
                                              KCC
                                              222 N Pacífic Coast Highway, Suite 300
                                              El Segundo, CA 90245




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                               EXHIBIT A
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                                                        Adversary Service List
                                                       Served via Electronic Mail


              Description                   CreditorName              CreditorNoticeName                          Email
                                        Bonds Ellis Eppich        John T. Wilson, IV, William R.   john.wilson@bondsellis.com;
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 Financial Advisor to Official Committee
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 Dondero, Highland Capital
 Management Services, Inc. and HCRE
 Partners, LLC (n/k/a NexPoint Real                               Deborah Deitsch-Perez,           deborah.deitschperez@stinson.com;
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 Management Services, Inc.              Martin, LLP               Jeffrey W. Hellberg Jr.          jeff.hellberg@wickphillips.com




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